Not`lce of Serv'ice of Precess Page 1 of 2
Case 2:09-CV-O7053-A.]l\/|-KWR Document 1-1 Filed 10/27/09 Page 1 of 12

Notice of Service of P_rocess
sop@cscinfc.com [sop@cscinfo.com]

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To: Karen Sa'vlgnac

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Trans_mittal Number: 7031590
Date: 10/02/2009

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Entity: The Wacl<enhut Ccrporation

Entity I.D. Number'. 0514713

En'tity Served: The Wacl<enhut Corporation

Title of Action: Sul|ivan C. Ledet, Jr. vs-. L_awrence Shane Camp
Document(s) type: Sumrnon's and Amended Complaint
Nature' of Action: Personal Injury

Court: St. Be.rnard Parlsh Dis`trict Court, Louisiana
Cas.e Number: 108-885

Jurisdiction Served: Lou.i§ia'na

Date Served on CSC: 10/02/'2009

A_ns_wel_' or Appearance Due: 15 Days

Originally Ser`ved On: CSC

How Served: Personal Service

Send.er Information:
Michael C. Ginart, Jr.
504-271-0471

 

Primary Contact:
Ms. Karen Savignac
The Wac|<enhut Corporation

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Notice of Service of Proces's Page 2 of 2
Case 2:09-cV-O7053-A.]l\/|-KWR Document 1-1 Filed 10/27/09 Page 2 of 12

Ms. Jackie Stankard

 

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N-ot:ic`e of Servic'e of Process
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NOTICE OF SERVICE OF PROCES`S

Transmittal Number: 7031580
Da`te: 10/02/2_009

Pursuant to client instructions, we are forwarding this summary and notice of Service of
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Entity: Wackenhut Services, Inc.

Entity I.D. Number: 0514714

Enti'ty Served: W_ackenhu-t `Services-, Inc.

Title of Action: Sullivan C. Ledet, Jr. vs. Lawrence Shane Camp
Document'(`s) type: Summons and Amended C_omplaint
Nature- of Action: Personal Injury

Court: St. B.ernard Parish District Court, Louisi'ana
Case Number: 108-885

Jurisdiction Served: Louisiana

Date Served on CSC: 10/02/ 2009

Answer or Appearanc'e Due: 15 Days

Origina|ly S;erved On: CSC

How Served: Personal Service

Sender In'fo.rmation:
Michael C. Glnart, Jr.
504-271-0471

 

Primary Contact:
Ms. Kare.n Savignac
The Wa_cl<enhut Corporation

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10/2/2009

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Ms. Jackie Stanka'rd

 

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SULLIVAN C‘. f.EDET, JR. AND ,
IMSM_ LEDET Ca_s‘e. 1 03~885
Dr'vr`sr'on.' “ E “'
Versns 34”' judicial Dc'&'!r£cf COHPI'
parish cfSl. Hernortl
LAWRENC'E SHA NE CA MF, XY_Z !MS‘.'UBANCE Slo¢e of an'_vr'a)m'

 

COMPA NY, THE HER?Z CORPORATION, A SE!.F¢
lNS UR£`D. CO.F.ZPORA TION, AND S TA TE FAR`M
AUTOMOB!LE INSU'KANCE COMPANYA_S F`HE
UNINS-UREDUNDERINSURED CARR!ER OF
BETT'I'ALFGNSD CORDOVA

ro.- res 'WA CKENHUT CoRP'oRA non
reno UGH irs AGENT ron san rice r)F Pa OCESS.-
THE PRENricE-HALL coRPORAr.ioA/SYSTEM INC.
3200 SQMER UL cs ernest
aa roa/sousa LA 70802-6129_

YOU HAVE BEEN SUED. Attached to this Citati.on is a certified copy of MOTION AND ORDER
FOR LEAVE TO AMEND AND FIRST SUP PLEMENTAL AND' AMEND`ING PETYTION. The Petitiori rails
you what you are being sued for.

You'must either DO WHAT THE PE_TITION ASKS, OR Wl'l`.l-ll'N FIFTEEN (15) DAYS atter.-you
have received these documents1 you must tile an answer or other legal pleadings in the office of the C]erk of
Court al the`SL Berna'rd Parish _Courtholtsr:, 1100 W. St. Berna.rd Hw'y,_ Chalrnette, LA 70043.

If you do not do what the Pretition asks, or if you do not file an answer or iegal pleading within
FI.FTEEN (15) DAYS, a judgment may be entered against you without further notice

This Citation Was issued by the Clerlc ot`.Court for St. Bernard Parish, louisiana on the Z=i'i`l-l day of
§EPTEMBEB, 2009.

JM (LEDET)
Lena R. Torres
Clerlc of Court
Parish of St. Bernard

 

 

 

 

 

By: _ -
` DPH .t
www.stbcicrk.com "' en '
DOM-I.CILIARY
Received Parish of St. Bema`rd on the day of , and on the ___ day of
, l served a copy ofthe within by leaving
the same at domicile this Pa:'ish in the hands of

___ a person apparently martha agc-of 14 years living and residing in said domicile
whose name and other factsz connected with this service l learned by interrogating the same

 

 

 

 

 

 

 

 

- the said being absent nom domicile
at the time ofs'aid service
Rcturncd Parish ofSt Bi:ma.rd g
Shbrifl"
PERSONAL
Rc_c'r.ived Parish of St. Bcrnard on the day of l and on the day of
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on at this
Parish his usual place of domicile in the Parish of St_ Bernard, by handling and delivering the same to in
Returned Parish of St. Bernard 4, _.
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Page 5 of 12

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Case 2:09-CV-O7053-A.]|\/|-KWR Document 1-1 Filed 10/27/09 Page 6 of 12

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34““‘ IUDICIAL merch annot ron THE PAi_usH OF sr. BERNARD

S'[`ATE' OF LOUISIANA
NO. 108 885 DlVISION “ E “

SULLIVAN C. LEDET, JR. AND titus M. LEDET
vERsos
LAWRENCB sHANE CAMP, XYZ INSURANCE GOWAN'Y, rios HERTZ
coRroRiarloN, A 'sELF-n~tSURED C.oRPoRA'rroN, AND. sTA'rE FARM AUT.OMOBILE
INSURANCE COMPANY ns THE UNISURED/UNDERINSURED cARRIER or BBTrY
ALFONSO CORDOVA

ened; SEF 2 limit _ Gwen S' 1936 oy.c.li¢.

 

MOTI'ON F-OR` LEAVE TO AMEND AND
FIRST SUPPLEMENTAL ANI) AMENDIN'G PETITION

NOW IN'[`O CGURT, through undersigned eounse'l, come plaintif&, Sullivan C. Ledet,
.ir., ct al, who prays for leave to amend their original in the following respect

1. B y amending the caption of the original petition to read as follows:

SULI.IVA_N C. L`EDET, JR. AND IRIS M. LEDET
`VE`RSUS
LA.WRENCE SI-IANE CAMP, CO'['[`ON STAT'E INSURANCE COMPANY, THE HERTZ
CORPORATION, A SE~LF-INSURBD CORPORATLON, A.ND STATE FARM AUTOM(_)‘BLLE
lNSURANCE CUMPANY _AS '[`HE UNINS'URED/UI\H_)ERINSURED CARRlER OF BE l`[ Y
ALFON.SO-CORDOVA,_ THE WAK_ENHUT CORPORATION AND/OR WACKENHUT
SERVICES, IN'C. AND GHI INSURANCE COMPANY

2. By changing in every incidence where the name XYZ appears in the petition as

the insurer Of ilewrence Shane Carnp to read "Cotton State lnsurance Cornp&ny”.

3. By adding paragraph Ill-A to read as follows:

1;3._A

That made defendant herein is The Waci{enhut Corpotation end/or Waicenhut Serviee's, _Inc.,
according to information-and belief, a foreign corporation licensed to do and doing business in the
State of_‘l.ouisiana, who ar all times pertinent herein was the employer of Lawrenoe Shane Carnp
who was in the course and scope of his employment with The Weekenliut Coiporation who is

therefore responsible for the actions of irs employees-.“

4. By adding paragraph III-B to read _es follows:
ll3-'B
Thot made defendant herein is Gl-ll INSURANCE' COMPANY, which_narne is being used

until the actual identity can be ascertained1 according to information and belief, a foreign

Case 2:09-CV-O7053-A.]|\/|-KWR Document 1-1 Filed 10/27/09 Page 7 of 12

insurance company authorized to do and doing business in the S‘iate ofl;.ouisian'a who at all times
pertinent herein issued a policy of liability insurance to defendant herein, The Waclte_nhut
Corporation andjor Wackenhut Servi'cies-, Inc., its employees,- e'te... which carried provisions of
liability insurance applicable herein which on or about Ma_tch 18, 2066 Was in hill force and
effect and-said insurance c:\:>rnpan_§r is being sued under the Louisiana Direct Action Statnte."
WHEREFORE, plaintiffs, Sullivan C. Ledet, Jr., et al, pray for leave to amend their
original petition and reiterating the prayer in their original petition pray that after due
proceedings are had there be judgment herein in their favor and against defendants, jointly,
severally and in solido in an amount sufficient to compensate petitioner for the damages
su.~:-tainedJ together with legal interest thereon from the date of judicial demand, all costs of these

prooeedings, and for all general and equitable relief_

 

 

_/ _ _
areaaaD-A.‘roNaY/(LSB #12359)
MICHAEL c. GINART, Ja. (Lsa amici
tom 'e. zones (LSB #22448;

cULLEN A. TONRY (LSB #29457>

 

§ ELE Attomey for Plaintiffs
@ E)Z.Q'-l-P_m _ 2114 Pari$ ROad
S`EP l 6 'ZI]{JQ _ P.-O. eng 32 _
ISIElizabeth, A. Puiz Chalmeoe, LA 70044-0032
" ~'_D"§FJ?Y_::TE'EK_”'" reap-home 504-211-047x
sT_. B-ERNARD PAR\SH martinez 504~271-6'293
GRDER

Considering the allegations and prayer:
IT IS ORD-EREI) that the foregoing Motion for Loave to Arnend and First Supplemental

and Am'endinjg Petition be filed as prayed for and in accordance to law.

cHALMaTTa, LoUtStaNA this-fidel day of _QQEAM_ 2009.

    
   

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'!UDGE'
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yLEA_sE Saava: A._UUE § g §§

'- - ."_"F»"?l§
Cot’con Sts-te lowrance Company ` ' ` _ ,_h€_,a:
Thmugh die Loag aim statute ‘Y“_
do meade enter animal officer as na man or st enaNAB!.i- »
'Sen'ice of Process See‘:i'on gagnpr L_t_)t}l_SLWA .
P.O. Box 6200 ' _ ._- g n "
Tallahassee, FL 32314~6209 'By__,__f.,_,,,- 1 -

CaS€ 2209-CV-O7053-A.]|\/|-KWR

The -Wackenhut Corperdtion

Through its Agznt for Service of Process:
The Prentice-Hali 'Corp.oration System, Inc.
3200 So merulos S-ireet

Baton Rouge, LA 70802~6129

Wackenhui S€I'viEES`-, Ill£.

Through its Ag_enf for Service-Of Process:
The Prcn`tice-Hzil Corporation `Sys'tem. Inc.
3209 Somerulos Street

Baton Rouge, LA. 70802-6129

PLEASE SER_VE:
WITH THE ORIGINAL PETIT{ON OMY
The Hea'iz -Curporation Arid
Lawrence Shane Camp
Through' its Attorney of Recard
Mr. I)avid M. MsDuuald-
1615 Metairie Rbad
P.(). Box 55490
Meiairie, LA 70055*5490

Document 1-1

Filed 10/27/09 Page 8 of 12

Case 2:09-CV-O705$.]|\/|-KWR Document 1-1 Filed 527/09 Page 9 of 12

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34"" JumclAL DlsTRICT Coum‘ FoR THE PARISH or s'T. BERNARD

s'rA'rE or Loul-stANA
No. 1 0 3 8 8 5_ mvlsloN"'
sULnlvAN c. Laoa'r, JR. AND mrs M. LEDET`
"Ve\°§\ls"

LAWRENCE SHANE CAMP, XYZ INSURANCE COMPANY,
THE HERTZ CORPORATION, A SELF~INSURED
CORPORATION, and STATE FARM AUTOMOB'I.LE INSURANCE COMPANY as the
Uninsured IUnderinsured carrier of BETTY ALFONSO CORDOVA

"AR°°Z“°' iv ,€7-
@\a\»~\- '~' soc

PETITION FOR DAMAGES

Filed:

 

 

 

The joint petition of Sullivan C. Ledet, Jr. and Iris M. Ledet, both persons of the full age

of majority and residents of domiciled in the Parish of St. Bemard, State of Louisiana, who with

respect represent:

That made defendant herein is LAWRENCE SHANE CAMP, according to information and
belief, a person of the full age of majority and a resident of and domiciled in the city of Hahira,

State of Georgia.
II.

'l'hat made defendant herein is XYZ INSURANCE COMPANY,' which name is being
used until the actual identity can be ascertained, according to information and bellef, .a foreign
insurance company authorized to do and doing business in the State of Lou_isiana who at all times
pertinent herein issued a policy of liability insurance to defendant herein, Lawrence Shane
Camp, which carried provisions applicable herein which on or about March 18, 2006 was in full
force and effect and said insurance company is being sued under the Louisi_ana Direct Action

Statute.

III.

That made defendant herein is THEI HERTZ CORPORAT!ON, according to information
and bel_ief, a foreign corporation licensed to do and doing business in the Parish of St. Bemard, State
of Louisiana, who at all times pertinent herein was a self-insured corporation which provided
automobile liability coverage to defendant, Lawrence Shane Camp which on or about March 18,
2006 was in hill force and effect and said insurance company is being sued under the Louisiana

Direct Action Statute.

Case 2:OQ-CV-O7O$%.]|\/|-KWR Document 1-1 Filed 167/09 Page 10 of 12

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lV.

That made defendant herein is State Fann Automobile Insurance Company, according to
information and beli.ef, a foreign insurance company authorized to do and doing business in the
State of Louisiana who at all times pertinent herein issued a policy of uninsured/underinsured
motorist insurance to Betty Alfonso Cordova, which on or about March 18, 2006 was in full
force and effect and said insurance company is being sued under the Louisiana Direct Action
Statute.

V_.

That on or about March 18-, 2006 plaintiffs herein were guest passengers in a 2006 Ford
F-150 owned by Betty Alfonso Cordova, and was proceeding in an easterly direction on L_a 39
(Judge Perez Drive) approaching its intersection with Center Street in the Parish of St. Bernard,
State of Louisiana.

VI,

That on the above date, defendant herein, Lawrence Shane Camp was the operator of a
2005 Toyota Hjighlander owned by The Hertz Corporation and was proceeding ina northerly
direction on Center Stre_et in the Parish of St. Bemard, State of Louisiana, when suddenly and
without warning defendant, Lawrence 'Shane Camp, failed to yield and proceeded into the
roadway of Center Street and W. Judge Pe-rez Drive directly in front of the vehicle in which your
petitioners were riding, causing their vehicle to violently strike defendant’s vehicle in the left
front fender/door causing severe and painful personal injuries to your plaintiffs which will be
more fully set forth herein below.

VII. l

That as a direct result of the above described accident, your petitioner, Sullivan C. Ledet,
Jr., suffered pain_, mental anguish and has suffered severe and painful personal injuries, including
but not limited to, his neck and shoulder and aggravation to.his back causing him to seek medical
attention. 1

VlII.

That as a direct result of the above described .acc'ident, your petitioner, iris M. Ledet,
suffered pain, mental anguish and has suffered severe and painful personal injuries, including but
not limited to, her neck and aggravation to her shoulder causing her to seek medical attention.

IX. .
That the above described incident and subsequent damages and injuries sustained by your

petitioner herein, occurred by no fault of petitioner and that the sole and proximate cause of said

Case 2:09-CV-O705%.]|\/|-KWR Document 1-1 Filed 1¥7/09 Page 11 of 12
incident and resultant damages and injuries sued upon herein resulted from the gross and wanton

negligence of the defendants above named in the following particulars:

NEGLIGENT ACTS QF I)Eli`lill'tll)ritN'l`l LAWRENQE SHAN§ CAMP:

l. Oper.ating his vehicle in a careless and wanton manner;
2. Failing to see what he should have seen;
3-. Failing to keep his vehicle under control at all times;

4. Failing to maintain a proper lookout;

5. Failing to take any steps to avoid the impending co-llision;
6. Failing to act as a reasonable and prudent person would under the same or similar
circumstances;.

7. Failing to use due care in the operation of his motor vehiel_e;

8. Fai.ling to be attentive to his stu'roundings and failure to have due and proper
regard of the safety of others;
9. Failure to yield;_

10. Failing to act as a reasonable and prudent person would under the same of similar
circumstances1 and other acts of negligence which were in contravention of the
exercise of due care, prudence and the laws of the S-tate of Louisian_a, Parish of St.
Bernard, which will be shown at the trial of this cause.

All of which said acts of negligence are in direct violation of the traffic ordinances of the

Parish of St. Bernard and the laws of the State of Louisiana, which said laws and ordinances are
pled herein as if copied in extenso.
X
That as a direct and proximate result of the above described negligence and resulting
collision, your petitioners have sustained monetary losses in- the form of medical bills incurred in
their care and treatment, including but not limited to, past, present and future physical pain and
suffering, mental anguish, inconvenience and aggravation and loss of income and wages and
other out-of-pocket expenses
XI.
That petitioners are entitled to recover all damages as are reasonable in the premises in
accordance with the law of Louisiana from the date of j udicial demand until paid.
l XII. .
That petitioners pray that all expert fees incurred in proving the liability and damage
issues be taxed as costs to the defendants
XIV.

Pl'aintiffs do not anticipate that the damages sought by each petitioner do not exceed

the sum of $75,000.00 exclusive of interest and cost at this time.

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WHEREFORE, petitioners SULLIVAN C. LEDET, JR. AND lRlS M. LEDET pray
that there be judgment herein in her favor and against the defendants, LAWRENCE SHANE
CAMP, THE HERTZ CORPORATION, A SELF-INSURED C`ORPORATION, and
STATE FARM AUTOMOBILE INSURANCE COMPANY as
IU-nderinsured carrier of BETTY ALFONSO CORDOVA,jointly, severally and in solido in
an amount to be determined by this Honorable Court, together with legal interest thereon from

date of judicial demand until paid, and for all costs of these proceedings, including expert fees

and all general and equitable reliel`.

Respect`fully submitted:

    

M]CHAEL C. GINART, JR. (LSB #18910)
KIM C. JONES (LSB #22448)

CULLEN A. TONRY (LSB #29457)
JEREMY K. LEE (LSB #30196)

Counsel for Plaintii`l`s
2114 Paris Road
Post Office Box 32

'Chalmette, Loui_siana 70'044-0032
'I`elephone: 504-271~0471
Facsimile: 504-271-6293

PLEASE SERVE:

 

LAWRENCE SHANE CAMP
'I’hrough the hong Arm Statute
207 E. Lawson Street

Hahira, Georgia 31632

THE HERTZ CORPORA’I'ION
Through its Registered Agent
C'I` CORPORA'I`ION SYSTEM
8550 United Plaza Blvd.

Baton Rouge, LA 7080.9

STATE FARM AUTOMOBILE INSURANCE COMPANY
I?rrough the Secrelary of Srale, Sta!e ofLouisiana

8549 United Plaza Blvd.

Bato'n 'Rouge, LA 70809

Case 2:09-CV-O705%.]|\/|-KWR Document 1-1 Filed 167/09 Page 12 of 12

the Uni.nsured

